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                                                            Counsel for Plaintiff
                                                        5
                                                                                        UNITED STATES DISTRICT COURT
                                                        6
                                                                                                DISTRICT OF NEVADA
                                                        7

                                                        8    WEBSITE MANAGEMENT SYSTEMS,                     Case No.: 2:20-cv-00213
                                                             LLC, a Nevada Limited Liability
                                                        9    Company
                                                       10                          Plaintiff,                PLAINTIFF’S MOTION FOR LEAVE TO
                                                             v.                                              FILE UNDER SEAL PROPRIETARY AND
                                                       11
                                                                                                             CONFIDENTIAL DOCUMENTS IN
                                                       12    BENJAMIN DAILEDA, an individual                 SUPPORT OF MOTION FOR
                                                             residing in Nevada, MELVIN OMAN, an             PRELIMINARY INJUNCTION
                                                             individual residing in Nevada, DEVAN
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                                                             HIRST, an individual residing in Nevada,
                        Los Angeles, CA 90036




                                                       14    YES WE WILL, INC., a Nevada
                                                             Corporation, and DOES 1-X,
                                                       15
                                                                                  Defendants.
                                                       16

                                                       17

                                                       18          Pursuant to LR-IA 10-5, Plaintiff Website Management Systems, LLC (“WMS”), by and

                                                       19   through its counsel, hereby moves this Court for leave to file certain confidential and proprietary

                                                       20   documents under seal. The documents to be filed under seal are Exhibits B-F of the Reply to

                                                       21   Defendant’s Opposition to Plaintiff’s Motion for Preliminary Injunction (Dkt. No. 13). Exhibits

                                                       22   B-F comprise Plaintiff’s trade secrets.

                                                       23          The Exhibits are lodged under seal for review by this Court in association with the Reply

                                                       24   and each of the Exhibits is designated CONFIDENTIAL – ATTORNEYS EYES ONLY for the

                                                       25   purpose of (i) maintaining the trade secret status of the documents and (ii) conforming to the

                                                       26   terms of Rule 26(c) Protective Order which Plaintiff expects to filed and approved in this action.

                                                       27   Despite no protective order being in place yet, LR-IA 10-5 allows the Court to seal documents.

                                                       28                                                                                                    1
                                                            PLAINTIFF’S MOTION FOR LEAVE TO FILE CONFIDENTIAL AND PROPRIETARY DOCUMENTS
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                                                        1                         MEMORANDUM OF POINTS AND AUTHORITIES
                                                        2                                    1.      LEGAL ARGUMENT
                                                        3          The general presumption in favor of public access to court documents “does not mandate
                                                        4   disclosure in all cases” San Juan Mercury News, Inc., v. U.S. Dist. Court – Northern Dist. (San
                                                        5   Jose), 187 F.3D 1096, 1102 (9th Cir. 1999). To overcome the general presumption of public
                                                        6   access, a party must demonstrate that there is either “good cause” or “compelling reasons” to seal
                                                        7   the documents at issue. See Ctr. For Auto Safety, 809 F.3d at 1096-97. The 9th Circuit has
                                                        8   reiterated this principle, concluding that “compelling reasons” must be articulated to maintain the
                                                        9   secrecy of the material attached to dispositive motions rather than the “good cause” showing
                                                       10   requiring to seal documents filed in a non-dispositive motions. Kamakana v. City and County of
                                                       11   Honolulu, 447 F.3d 1172, 1178-79 (9th Cir. 2006) (internal quotes omitted).
                                                       12          The “good cause” standard is taken from Fed. R. Civ. P. 26(c)(1), which governs the

                                                            issuance of protective orders in the discovery process: “The court may, for good cause, issue an
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                                                       14   order to protect any party or person from annoyance, embarrassment, oppression, or undue
                                                       15   burden or expense…” Fed. R. Civ. P. 26(c)(1); see also Ctr. For Auto Safety, 809 F.3d at 1097.
                                                       16          On the other hand, “compelling reasons” exist when the court files might become a
                                                       17   vehicle for improper purposes, such as use of records to “release…trade secrets.” See Kamakana
                                                       18   447 F.3d 1172, 1179 (citing Nixon v. Warner Coom’s, Inc., 435 U.S. 589, at 598 (1978)).
                                                       19   Exhibits B-F associated with the Reply (Dkt. No. 13) in this case are trade secrets of Plaintiff and
                                                       20   their release would allow competitors to take immediate advantage of years of effort by the
                                                       21   Plaintiff to develop the trade secrets in question. Indeed, Defendants are already doing so using
                                                       22   the trade secrets they misappropriated from Plaintiff.
                                                       23          This Court also has the statutory authority to seal documents under Nevada’s Uniform
                                                       24   Trade Secrets Act (“UTSA”). The USTA provides that “In any civil or criminal action, the court
                                                       25   shall preserve the secrecy of an alleged trade secret by reasonable means, which may include,
                                                       26   without limitation:
                                                       27                  …3.     Sealing the records of the action…
                                                       28                                                                                                     2
                                                            PLAINTIFF’S MOTION FOR LEAVE TO FILE CONFIDENTIAL AND PROPRIETARY DOCUMENTS
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                                                        1   Nev. Rev. Stat. § 600A.070.
                                                        2               In this instance, Exhibits B-F specifically detail Plaintiff’s trade secrets as follows:
                                                        3                    Exhibit B - Plaintiff’s proprietary and confidential Lead Generation Process;
                                                        4                    Exhibit C - Plaintiffs’ proprietary and confidential Fulfillment and Search Engine
                                                        5   Optimization Process; and
                                                        6                    Exhibits D-F - Screen shots of Plaintiff’s proprietary and confidential Website
                                                        7   Demo in comparison to the website Demo being used by Defendants.
                                                        8             Compelling reasons exist for maintaining the secrecy of the trade secret information set
                                                        9   forth in Exhibits B-F. As set forth Plaintiff’s Motion for Preliminary Injunction (Dkt. No. 8) and
                                                       10   the Reply to Defendants’ Opposition to Plaintiff’s Motion for Preliminary Injunction (Dkt. No.
                                                       11   13), the information set forth in Exhibits B-F form the backbone of Plaintiff’s business and has
                                                       12   been developed over the past 12 years of operations by Plaintiff and meets the definition of trade
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                                                       13   secret.
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                                                       14             Even assuming arguendo, that the information set forth in Exhibits B-F did not meet the
                                                       15   technical definition of a trade secret, “compelling reasons” nevertheless exist whereby the
                                                       16   documents to be sealed are “sources of business information that might harm a litigant’s
                                                       17   competitive standing” such that a sealing is warranted. See, Nixon, 435 U.S. at 598. The 9th
                                                       18   Circuit has stated that “…a trade secret may consist of a compilation of data, public sources or a
                                                       19   combination of proprietary and public sources.” United States v. Nosal 676 F.3d 854 (9th Cir.
                                                       20   2012).
                                                       21             Accordingly, under the\ standards set forth in Kamakana, as well as under NRS §
                                                       22   600A.070, this Court should preserve the secrecy and confidentiality of Exhibits B-F as these
                                                       23   documents contain the trades secrets of Plaintiff which are at issue in this case. Thus, the
                                                       24   exception to public disclosure of trade secret documents outweighs the general presumption of
                                                       25   public access. See Kamakana 447 F.3d at 1179-81.
                                                       26
                                                       27

                                                       28                                                                                                          3
                                                            PLAINTIFF’S MOTION FOR LEAVE TO FILE CONFIDENTIAL AND PROPRIETARY DOCUMENTS
                                                            UNDER SEAL
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                                                        1                                        II.    CONCLUSION
                                                        2          Based on the foregoing points and authorities, Plaintiff respectfully requests that this
                                                        3   Court enter an order granting Plaintiff’s leave to file the following documents under seal:
                                                        4                  Exhibit B to Reply - Plaintiff’s proprietary and confidential Lead Generation
                                                        5          Process;
                                                        6                  Exhibit C to Reply - Plaintiffs’ proprietary and confidential Fulfillment and
                                                        7   Search Engine Optimization Process; and
                                                        8                  Exhibits D-F to Reply - Screen shots of Plaintiff’s proprietary and confidential
                                                        9   Website Demo in comparison to the website Demo being used by Defendants.
                                                       10

                                                       11          DATED this 2nd day of March 2020.
                                                       12
                                                                                                         Respectfully submitted,
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                                                       13
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                                                       14                                                FISHERBROYLES, LLP
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                                                                                                          /s/ Rob L. Phillips
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                                                       19                                                Counsel for Plaintiff
                                                       20

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                                                            PLAINTIFF’S MOTION FOR LEAVE TO FILE CONFIDENTIAL AND PROPRIETARY DOCUMENTS
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                                                        1                               CERTIFICATE OF SERVICE
                                                        2         I hereby certify that on the 2nd day of March 2020, a true and correct copy of
                                                        3   PLAINTIFF’S MOTION FOR LEAVE TO FILE UNDER SEAL PROPRIETARY AND
                                                        4   CONFIDENTIAL DOCUMENTS IN SUPPORT OF MOTION FOR PRELIMINARY
                                                        5   INJUNCTION was served via The Court’s ECF System as follows:
                                                        6

                                                        7   COHEN JOHNSON PARKER EDWARDS
                                                            375 E. Warm Springs Rd., Ste. 104
                                                        8   Las Vegas, Nevada 89119
                                                            H. STAN JOHNSON, ESQ.
                                                        9   sjohnson@cohenjohnson.com
                                                            RYAN D. JOHNSON, ESQ.
                                                       10   rjohnson@cohenjohnson.com
                                                       11

                                                       12
                                                                                                           /s/ Rob L. Phillips
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                                                                                               Rob Phillips, an employee of FisherBroyles, LLP
                        Los Angeles, CA 90036




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                                                            PLAINTIFF’S MOTION FOR LEAVE TO FILE CONFIDENTIAL AND PROPRIETARY DOCUMENTS
                                                            UNDER SEAL
